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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF TEXAS
VICTORIA DIVISION

IN RE:
CASE NO. 16-60040 (DRJ)
LINN ENERGY, LLC, e¢ al
CHAPTER I1

Cn LN LY Or Lr

DEBTORS

 

JASON R. SEARCY, CHAPTER 7
TRUSTEE FOR THE BANKRUPTCY
ESTATE OF RINCON ISLAND LIMITED
LIMITED PARTNERSHIP

V. ADV. NO. 18-06009
BERRY PETROLEUM COMPANY, LLC,
CALIFORNIA STATE LANDS
COMMISSION, SOCORRO CAPITAL, LLC,
TORCH OPERATING COMPANY, AND
TORCH ENERGY FINANCE FUND
LIMITED PARTNERSHIP-I, AND TORCH
ENERGY FINANCE COMPANY

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WAIVER OF SERVICE OF SUMMONS

To: Torch Energy Finance Fund Limited Partnership I n/k/a Torch Finance Fund Limited
Partnership, c/o Roland E. Sledge, 1300 Main, Ste. 1520, Houston, Texas 77002.

I acknowledge receipt of your request that I waive service of a summons in the action
stated above, which was filed in the United States Bankruptcy Court for the Southern District of
Texas. I have also received a copy of the complaint in the above action, two copies of this
Instrument, and a means by which | can return the signed waiver to you without cost to me.

I agree to save the cost of service of a summons and an additional copy of the complaint
in this lawsuit by not requiring that I (or the entity on whose behalf I am acting) be served with
Judicial process in the manner provided by Federal Rule of Bankruptcy Procedure 7004 and/or
Federal Rule of Civil Procedure 4.

 

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1-8-18\Adversaries\JRS, Trustee v. Socorro Capital et al #18-06009\Pleadings\Service Waivers\Service Waiver -
Torch Energy Finance Fund.wpd |
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I (or the entity on whose behalf I am acting) will retain all defenses or objections to the
lawsuit or to the jurisdiction or venue of the Court except for objections based on the defect in
the summons or in the service of summons.

I understand that I, or the entity I represent, must file and serve an answer or a motion
under rule 12 within 60 days from August 1, 2018, the date this request was sent (or 90 days if it
was sent outside the United States). If I fail to do so, a default judgment will be entered against
me or the entity I represent.

3/1/18

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Signature // ROLAND £ E SLEDGE
Toran runned Pialice POND LUN TIEN MaeRERSH IP I mika Tes Ford Ne
For Defendant

 

 

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Duty to Avoid Unnecessary Expenses of Serving a Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in
saving unnecessary expenses of serving a summons and complaint. A defendant who is located
in the United States and who fails to return a signed waiver of service requested by a plaintiff
located in the United States will be required to pay the expenses of service, unless the defendant
shows good cause for the failure.

“Good cause” does not include a belief that the lawsuit is groundless, or that it has been
brought in an improper venue, or that the court has no jurisdiction over this matter or over the
defendant or the defendant’s property. If the waiver is signed and returned, you can still make
these and all other defenses and objections, but you cannot object to the absence of a summons
or of service.

If you waive service, then you must, within the time specified on the waiver form, serve
an answer or a motion under Rule 12 on the plaintiff and file a copy with the court. By signing
and returning the waiver form, you are allowed more time to respond than if a summons had
been served.

 

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